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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

RAHILA TARVERDIYEVA,                     )
                                         )
       Plaintiff,                        )
vs.                                      ) Case No.: 8:21-cv-1717-MSS-SPF
                                         )
COINBASE GLOBAL, INC. a/k/a              )
COINBASE,                                )
                                         )
       Defendant.                        )
                                         /

                      DEFENDANT COINBASE, INC’S MOTION
                   TO COMPEL ARBITRATION AND STAY ACTION




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                                        I.    INTRODUCTION

        Founded in June of 2012, Coinbase, Inc.1 (“Coinbase”) is a digital currency

wallet and exchange platform where users can transact with digital currencies like

Bitcoin, Ethereum, and Litecoin. Plaintiff Tarverdiyeva was a Coinbase user. Like

all Coinbase users, Tarverdiyeva was required to agree to Coinbase’s User Agreement

(“User Agreement”). User Agreement Section 7.2 provides for mandatory arbitration

before the American Arbitration Association (“AAA”) for unresolved 2 disputes arising

out of the User Agreement or a Coinbase service (the “Arbitration Agreement”).

Plaintiff’s primary allegation is that Coinbase “accessed [her] account without [her]

permission,” improperly “increased [her] withdrawal limit,” “converted all [her] funds

. . . without [her] permission,” and “violated several clauses of its own User

Agreement.” Compl., at 5, 7, ⁋⁋ 1-3, 15. Plaintiff Rahila Tarverdiyeva’s complaint

arises from her use of Coinbase’s services and Coinbase’s alleged breaches of its User

Agreement and therefore must be arbitrated under the Arbitration Agreement.

        Arbitration agreements such as the one between Plaintiff and Coinbase are valid

and enforceable under the Federal Arbitration Act, 9 U.S.C. § 1, et seq. (“FAA”).

Additionally, courts around the country and in the Eleventh Circuit have consistently

found online sign-up flows, like the one used by Coinbase, create binding, enforceable

arbitration agreements because they are clear and conspicuous. See, e.g., Nguyen v.


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  The Plaintiff’s Complaint and Summons in this case name Coinbase, Inc. as the sole defendant. However, the
case caption contains a misnomer of “Coinbase Global, Inc. also known as Coinbase.” Accordingly, this Motion
is brought solely on behalf of Coinbase, Inc. See, Complaint [Dkt. 1] (“Compl.”) and Summons [Dkt. 3].
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  The User Agreement provides for attempted resolution in the first instance through the Coinbase support team.
Disputes that are not resolved by the support team are to be finally settled in binding arbitration.
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Barnes & Noble Inc., 763 F.3d 1171, 1176 (9th Cir. 2014); Babcock v. Neutron Holdings,

Inc., 454 F. Supp. 3d 1222, 1231 (S.D. Fla. 2020); In re Facebook Biometric Info. Privacy

Litig., 185 F. Supp. 3d 1155, 1165 (N.D. Cal. 2016); Savetsky v. Pre-Paid Legal Servs.,

Inc., 2015 WL 604767, at *3 (N.D. Cal. Feb. 12, 2015); Segal v. Amazon.com, Inc., 763

F. Supp. 2d 1367, 1369 (S.D. Fla. 2011).          The Coinbase sign-up-flow requires

prospective users to click “I Agree” to the User Agreement to complete registration.

       To Coinbase’s knowledge, no court has held that this User Agreement to not be

enforceable. In fact, courts have enforced the Coinbase User Agreement at issue here.

See Sultan v. Coinbase, Inc., 354 F. Supp. 3d 156, 161 (E.D.N.Y. 2019); Pierre v. Coinbase,

Inc., 2021 WL 1538015, at *1 (Sup. Ct., N.Y. Cty. Apr. 14, 2021); Strozier v. Coinbase,

Inc., No. 651451/2018 (Sup. Ct., N.Y. Cty. Sept. 5 and 10, 2018).

       Finally, there can be no dispute that the Arbitration Agreement covers

Plaintiff’s claims. The Supreme Court has made clear that where the parties have

entered into an arbitration agreement, a presumption arises that any dispute between

them falls within the scope of the arbitration agreement. Moses H. Cone Mem’l Hosp. v.

Mercury Constr. Corp., 460 U.S. 1, 24 (1983). That is especially true where, as here, the

Arbitration Agreement is broad and covers “any dispute arising under this

Agreement.” Declaration of Carter McPherson-Evans (“McPherson-Evans Decl.”),

⁋⁋ 6, 9, Ex. 1 (emphasis added). Plaintiff renders this analysis simple—she cites

Coinbase’s alleged violations of the User Agreement as the predicate for her claims.




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       Accordingly, the instant Motion to Compel Arbitration and Stay the Action

should be granted, and this dispute submitted to arbitration pursuant to the binding

Arbitration Agreement.

                         II.   FACTUAL BACKGROUND

       Coinbase is a digital currency exchange that provides an online platform for the

buying, selling, transferring, and storing of digital currency. McPherson-Evans Decl.,

⁋ 3. Coinbase provides services to its users pursuant to the Coinbase User Agreement.

Id., ⁋ 4. Persons seeking to utilize Coinbase’s platform must first create a Coinbase

account by providing personal identifying information and accepting the terms of the

User Agreement.     Id., ⁋⁋ 4, 12. Plaintiff is a Florida resident who created and

maintained a Coinbase account since December 17, 2017. Id., ⁋ 14, Ex. 2.

       On July 15, 2021, Plaintiff filed her Complaint. The crux of this dispute are

Plaintiff’s allegations that Coinbase “accessed [her] account without [her]

permission,” improperly “increased [her] withdrawal limit,” “converted all [her] funds

. . . without [her] permission,” and “violated several clauses of its own User

Agreement.” Compl., at 5, 7, ⁋⁋ 1-3, 15. Additionally, on July 26, 2021, Plaintiff

mailed a letter to the Court which was docketed as a “Supplement” to her Complaint

which reiterates her allegation that “Coinbase has violated several clauses of its own

User Agreement” and identified twelve additional sections from the User Agreement

from which her alleged claims stem. See Supplement to Complaint [Dkt. 4].




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           A.      Coinbase Members Agree to the Arbitration Agreement When
                   Registering for an Account.

       There is no charge to create a Coinbase account. McPherson-Evans Decl., ⁋ 4.

Acceptance of the terms and conditions of the User Agreement grants prospective

users a license to access and use the Coinbase Site and related content. Id. At the time

of Plaintiff’s registration, prospective users could create Coinbase accounts both on its

website and via the Coinbase mobile application. Id., ⁋ 11. The account creation page

on both the website and mobile application had fields for a prospective user to enter

his or her first and last name, email address, and newly created password. Id., ⁋ 12.

Then, upon receiving that information, each prospective user was presented with the

then-current User Agreement and prompted to click either “I Agree” or “Cancel.” Id.

       Prospective users at the time of Plaintiff’s registration had to complete each

field—including clicking “I Agree” to the User Agreement to proceed with

registration. Id., ⁋ 13. The website and mobile application did not permit anyone to

create an account without affirmatively agreeing to the User Agreement. Id. Should

someone try to create an account without clicking “I Agree,” the account would not

be created. Id.

       Plaintiff created her account on December 17, 2017, through the Coinbase

website. Id., ⁋ 14, Ex. 2. Prospective users at the time of Plaintiff’s registration could

not create accounts without clicking “I Agree” to the User Agreement. Id., ⁋ 13. Thus,

Plaintiff necessarily accepted the User Agreement prior to creating her account.



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           B.      Coinbase’s User Agreement Contains a Mandatory Arbitration
                   Clause.

       The User Agreement that Plaintiff accepted begins by stating:

       This is a contract between you and Coinbase, Inc. (“Coinbase”). By
       signing up to use an account through coinbase.com or gdax.com, or any
       associated websites, APIs, or mobile applications (collectively the
       “Coinbase Site”), you agree that you have read, understood, and accept
       all of the terms and conditions contained in this Agreement, as well as
       our [Privacy Policy] (https://www.coinbase.com/legal/privacy) and E-
       Sign Consent.

       Id., ⁋⁋ 6, 8, Ex. 1.

       User Agreement Section 7.2 provides for the mandatory arbitration of disputes

before the AAA under its Consumer Arbitration Rules.                 Section 7.2, titled

“Arbitration; Waiver of Class Action,” provides, in relevant part:

        If you have a dispute with Coinbase, we will attempt to resolve any such
        disputes through our support team. If we cannot resolve the dispute
        through our support team, you and we agree that any dispute arising
        under this Agreement shall be finally settled in binding arbitration, on
        an individual basis, in accordance with the American Arbitration
        Association’s rules for arbitration of consumer-related disputes
        (accessible                                                            at
        https://www.adr.org/sites/default/Consumer%20Rules.PDF) and
        you and Coinbase hereby expressly waive trial by jury and right to
        participate in a class action lawsuit or class-wide arbitration.
                                      *     *      *     *
Id., ⁋⁋ 6, 9, Ex. 1.

       Section 7.2 also provides that “[t]he arbitration will be conducted by a single,

neutral arbitrator and shall take place in the county or parish in which you reside, or

another mutually agreeable location, in the English language.” Id., ⁋⁋ 6, 10, Ex. 1.

Coinbase provides reimbursement of filing fees and other AAA administrative costs in
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excess of those that the user would pay if proceeding in court. Id. Section 7.2 therefore

provides a fair, efficient, and local (to the user) procedure for the resolution of disputes

between Coinbase and its users.

                                  III.    ARGUMENT

           A.      Plaintiff’s Claims Are Subject to Binding Arbitration Pursuant to
                   the Arbitration Agreement.

                   1.    Under the FAA, This Court Must Compel Arbitration
                         Pursuant to the Terms of the Arbitration Agreement.

       Section 2 of the FAA mandates that binding arbitration agreements in contracts

“evidencing a transaction involving [interstate] commerce . . . shall be valid,

irrevocable, and enforceable, save upon such grounds as exist in law or in equity for

the revocation of any contract.” 9 U.S.C. § 2; see Buckeye Check Cashing, Inc. v. Cardegna,

546 U.S. 440, 443 (2006). The FAA was enacted to “overcome judicial resistance to

arbitration,” Buckeye Check Cashing, Inc., 546 U.S. at 443, and “establishes ‘a liberal …

policy favoring arbitration agreements.’” Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1621

(2018) (quoting Moses H. Cone Mem’l Hosp., 460 U.S. at 24 (1983)); Caley v. Gulfstream

Aerospace Corp., 428 F.3d 1359, 1367 (11th Cir. 2005).

       The FAA “requires courts to enforce the bargain of the parties to arbitrate” and

“leaves no place for the exercise of discretion by a district court, but instead mandates

that district courts shall direct the parties to proceed to arbitration on issues as to which

an arbitration agreement has been signed.” KPMG LLP v. Cocchi, 565 U.S. 18, 21-22

(2011) (per curiam) (citations omitted); see also AT&T Mobility LLC v. Concepcion, 563


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U.S. 333, 344 (confirming that the “‘principal purpose’ of the FAA is to ‘ensure that

private arbitration agreements are enforced according to their terms.’”) (citations

omitted); accord Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 682 (2010).

       Under the FAA, arbitration must be compelled where, as in this case: (1) a valid,

enforceable agreement to arbitrate exists; and (2) the claims at issue fall within the

scope of that agreement. See 9 U.S.C. § 4; AT&T Techs., Inc. v. Commc’ns Workers of

Am., 475 U.S. 643, 650 (1986); Lambert v. Austin Ind., 544 F.3d 1192, 1195 (11th Cir.

2008); Gray v. Uber, Inc., 362 F. Supp. 3d 1242, 1245 (M.D. Fla. 2019). It is well settled

that the party resisting arbitration bears the burden of showing that the arbitration

agreement is invalid or does not encompass the claims at issue, a burden that cannot

be met by Plaintiff on the facts here. Green Tree Fin. Corp. Ala. v. Randolph, 531 U.S.

79, 92 (2000). The binding Arbitration Agreement should be enforced.

                   2.   The Arbitration Agreement Is Valid.

       While the FAA exclusively governs the enforceability of the Arbitration

Agreement according to its terms, state law governs the determination of whether a

valid agreement to arbitrate exists. See First Options of Chicago, Inc. v. Kaplan, 514 U.S.

938, 944 (1995) (“When deciding whether the parties agreed to arbitrate a certain

matter (including arbitrability), courts generally . . . should apply ordinary state-law

principles that govern the formation of contracts.”) (citation omitted); Lambert, 544

F.3d at 1195. Although the parties’ User Agreement contains a California choice-of-

law clause, the Arbitration Agreement is valid under both Florida and California law.

Ordinary state-law principles of contract formation in both Florida and California
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require offer, acceptance, and consideration. See Bannister v. Sally Beauty Supply, LLC

2020 WL 8223534, at *2 (M.D. Fla. Dec. 15, 2020); QC Labs v. Green Leaf Lab, LLC,

2020 WL 6064966, at *2 (C.D. Cal. July 9, 2020). Establishing these requirements

generally turns on whether the parties manifested “mutual assent.” See Lawhon v.

Aaron’s, Inc., 2020 WL 2219665, at *8 (M.D. Fla. May 7, 2020); Cordas v. Uber Techs.,

Inc., 228 F. Supp. 3d 985, 988 (N.D. Cal. 2017).

        Here, Plaintiff accepted the terms of the User Agreement, including its

arbitration provision, when she clicked “I Agree” to the User Agreement while

registering her Coinbase account. McPherson-Evans Decl., ⁋ 14, Ex. 2.; id. ⁋ 14, Ex. 1

(User Agreement Preamble) (“This is a contract between you and Coinbase, Inc.”); id.

(Section 7.2) (“…you and we agree that any dispute arising under this Agreement shall

be finally settled in binding arbitration”) (emphasis added). Plaintiff acknowledges the

applicability and validity of the User Agreement by predicating her causes of action

on Coinbase’s alleged breach of the User Agreement’s terms. See Compl., at 5, 7, ⁋⁋

1-3, 15.

        Courts routinely enforce “clickwrap”3 web-based agreements and arbitration

agreements contained therein, as with Coinbase’s User Agreement, where users must

affirmatively click “I Agree” to the User Agreement after being presented with terms

and conditions. See Nguyen, 763 F.3d at 1176 (“Courts have also been more willing to

find the requisite notice for constructive assent where the browsewrap agreement


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 “Clickwrap” agreements are agreements “in which website users are required to click on an ‘I agree’ box after
being presented with a list of terms and conditions of use.” Nguyen, 763 F.3d at 1176.
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resembles a clickwrap agreement—that is, where the user is required to affirmatively

acknowledge the agreement before proceeding with use of the website”); Babcock, 454

F. Supp. 3d at 1231 (applying California law and holding that “by tapping ‘I Agree’

the user confirms that he or she read and agreed to [the User Agreement].”) (internal

quotations omitted); In re Facebook, 185 F. Supp. 3d at 1165 (“[O]ur Circuit has

recognized that the closer digital agreements are to the clickwrap end of the spectrum,

the more often they have been upheld as valid and enforceable.”); Savetsky, 2015 WL

604767, at *3 (holding that courts generally find “agreements enforceable” where the

sign-up-flow “requires a user or prospective customer to check a box or click an ‘I

agree’ button after being presented with terms and conditions”); Segal, 763 F. Supp. 2d

at 1369 (“In Florida and the federal circuits clickwrap agreements are valid and

enforceable contracts.”).

       Other courts have enforced the Coinbase User Agreement at issue here. See

Sultan, 354 F. Supp. 3d at 158 (compelling arbitration where the plaintiff “allege[d]

that Coinbase, Inc. . . . negligently failed to prevent a scam that allowed a third party

to steal more than $200,000 from his account”); Pierre, 2021 WL 1538015, at *1

(compelling arbitration of claims where the plaintiff alleged Coinbase failed to put

proper measures to protect its customers from security breaches, which caused the

plaintiff to sustain a loss of funds); Strozier, No. 651451/2018 (Sup. Ct., N.Y. Cty.

Sept. 5 and 10, 2018) (compelling arbitration of claims against Coinbase for negligence

and violation of GBL § 349).


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       Accordingly, when Plaintiff viewed the User Agreement and clicked the “I

Agree” button and became a Coinbase member, she both created an account and

manifested her unambiguous assent to the User Agreement, including the Arbitration

Agreement therein. That agreement is enforceable – as numerous courts have held –

and should be enforced by this Court here.

                   3.   Plaintiff’s Claims Are Within the Scope of the Agreement.

       Plaintiff’s claims fall squarely within the scope of her arbitration agreement with

Coinbase. The Supreme Court and Eleventh Circuit have distinguished between

broadly-written arbitration clauses that designate all disputes to arbitration and those

that purport to make only a narrow set of issues arbitrable, finding that the

“presumption of arbitrability is ‘particularly applicable’ where an arbitration clause is

broadly worded.” Int’l Bhd. of Elec. Workers Sys. Council U-4 v. Fla. Power & Light Co.,

627 F. App’x 898, 901 (11th Cir. 2015) (citing AT&T Techs., Inc., 475 U.S. at 650).

“[A]ny doubts concerning the scope of arbitrable issues should be resolved in favor of

arbitration.” Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 626

(1985). Where the clause is broad, as is the Arbitration Agreement here, there is a

heightened presumption of arbitrability such that, “‘in the absence of any express

provision excluding a particular grievance from arbitration, we think only the most

forceful evidence of a purpose to exclude the claim from arbitration can prevail.’”

AT&T Tech., 475 U.S. at 650 (quoting United Steelworkers of Am. v. Warrior & Gulf

Navigation Co., 363 U.S. 574, 584-85 (1960)).


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       The Arbitration Agreement before this Court is broad and encompasses

Plaintiff’s claims. See Hearn v. Comcast Cable Commc’ns, LLC, 992 F.3d 1209 (11th Cir.

2021); Phillips v. NCL Corp. Ltd., 824 F. App’x 675, 677 (11th Cir. 2020); Raw Life

Organics LLC v. SBL, LLC, 2021 WL 217765, at *6 (S.D. Fla. Jan. 6, 2021). The

Arbitration Agreement in the User Agreement encompasses “any dispute arising under

this Agreement shall be finally settled in binding arbitration.” McPherson-Evans

Decl., ⁋⁋ 6, 9, Ex. 1 (emphasis added). By this lawsuit, Plaintiff claims Coinbase

“accessed [her] account without [her] permission,” improperly “increased [her]

withdrawal limit,” “converted all [her] funds . . . without [her] permission,” and

“violated several clauses of its own User Agreement.” Compl., at 5, 7, ⁋⁋ 1-3, 15.

       It is well settled that if underlying claims simply “‘touch matters’ covered by

parties’” arbitration agreements, then those claims must be arbitrated. Wolfe v. Carnival

Corp., 421 F. Supp. 3d 1355, 1358 (S.D. Fla. 2019) (citing Indus. Risk Insurers v. M.A.N.

Gutehoffnungshutte GmbH, 141 F.3d 1434, 1449 n.22 (11th Cir. 1998)). Here, Plaintiff

renders the analysis simple and admits that her claims arise from multiple provisions

within the User Agreement. Plaintiff admits that her claims arise under the User

Agreement. Plaintiff attached the User Agreement as an Exhibit to her Complaint and

highlighted the section from which she argues her claims arise. Compl., at 7, ⁋⁋ 15,

Exh. H. Plaintiff filed a Supplement to her Complaint which reiterates that “Coinbase

has violated several clauses of its own User Agreement” and identified twelve

additional sections in the User Agreement from which she avers her claims arise. See


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Supplement to Complaint [Dkt. 4]. Thus, because the Arbitration Agreement’s broad

language plainly covers Plaintiff’s claims, all of which directly stem from the User

Agreement, the Motion should be granted.

           B.      This Action Should Be Stayed Pending Completion of the
                   Arbitration.

       Section 3 of the FAA expressly provides that, where a valid arbitration

agreement requires a dispute to be submitted to binding arbitration, the district court

shall stay the action “until such arbitration has been had in accordance with the terms

of the agreement.” 9 U.S.C. § 3; see Bender v. A.G. Edwards & Sons, Inc., 971 F.2d 698,

699 (11th Cir. 1992) (“Upon finding that a claim is subject to an arbitration agreement,

the court should order that the action be stayed pending arbitration.”). A stay of this

action pending completion of the arbitration serves the dual purpose of judicial

economy and efficiency. Once the arbitration is complete, the parties can return to

this Court for post-arbitration procedures (i.e., either to confirm, challenge and/or

vacate the award) without having to commence a new, separate action. See, e.g.,

Armont v. K12 (Fla. Cyber Charter Acad. - FLCCA), 2020 WL 376957, at *1 (M.D. Fla.

Jan. 23, 2020) (compelling arbitration and staying action).

                               IV.    CONCLUSION

       For all of the foregoing reasons, the Court should grant Coinbase’s motion to

compel arbitration and stay the action pending the arbitration proceedings.

                                        /s/ Amanda E. Reagan
                                        Amanda E. Reagan
                                        Florida Bar No. 92520
                                        DLA PIPER LLP (US)
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                        CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on August 12, 2021, a true and correct copy of the
foregoing was furnished by United States mail to:
Rahila Tarverdiyeva
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Spring Hill, FL 34606
Pro Se Plaintiff

                                    /s/ Amanda E. Reagan
                                    Attorney




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